                         Case 8-18-78239-las                              Doc 27       Filed 12/20/18      Entered 12/20/18 13:46:46

 Fill in this information to identify your case:

 Debtor 1
                   JULIA
                   __________________________________________________________________
                                                                                     ROSALES
                     First Name                     Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                    Last Name


                                         Eastern District
 United States Bankruptcy Court for the: __________       ofofNew
                                                    District      York
                                                               ________

 Case number
                     18-78239
                     ____________________________________________
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

          106H
Schedule H: Your Codebtors                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔    No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                        ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:
3.1
         ________________________________________________________________________________                         Schedule D, line ______
         Name
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code

3.2
         ________________________________________________________________________________                         Schedule D, line ______
         Name
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code

3.3
         ________________________________________________________________________________                         Schedule D, line ______
         Name
                                                                                                                  Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                 Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                      ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
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Debtor 1
                JULIA                                           ROSALES
                 _______________________________________________________
                                                                                                           18-78239
                                                                                        Case number (if known)_____________________________________
                First Name     Middle Name   Last Name




                Additional Page to List More Codebtors

      Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:
3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code
3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code

3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code
3._
       ________________________________________________________________________________           Schedule D, line ______
       Name
                                                                                                  Schedule E/F, line ______
       ________________________________________________________________________________
       Number         Street                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                       State                    ZIP Code




                                                           Schedule H: Your Codebtors                                              page ___ of ___
